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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                            FORT WORTH DIVISION

EXXON MOBIL CORPORATION,                     §
                                             §
                         Plaintiff,          §
                                             §
v.                                           §              NO. 4:16-CV-469
                                             §
MAURA TRACY HEALEY, Attorney                 §
General of Massachusetts, in her             §
official capacity,                           §
                                             §
                         Defendant.          §
                                             §


                       EXXONMOBIL’S COMPLAINT
                FOR DECLARATORY AND INJUNCTIVE RELIEF

       Exxon Mobil Corporation (“ExxonMobil”) brings this action for declaratory and

injunctive relief against Maura Healey, the Attorney General of Massachusetts.

ExxonMobil seeks an injunction barring the enforcement of a civil investigative demand

to ExxonMobil, and a declaration that the civil investigative demand violates

ExxonMobil’s rights under state and federal law. For its Complaint, ExxonMobil alleges

as follows based on present knowledge and information and belief:

                                      INTRODUCTION

               Frustrated by the federal government’s perceived inaction, a coalition of

state attorneys general with a goal to end the world’s reliance on fossil fuels announced

their “collective efforts to deal with the problem of climate change” at a joint press

conference, held on March 29, 2016, with former Vice President and private citizen Al

Gore as the featured speaker.     The attorneys general declared that they planned to

“creatively” and “aggressively” use the powers of their respective offices on behalf of the
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coalition to force ExxonMobil1 and other energy companies to comply with the

coalition’s preferred policy responses to climate change.                 As the statements of the

Attorney General of Massachusetts and others made unmistakably clear, the press

conference was a politically motivated event urged on by activists.2

                 The press conference was the culmination of years of planning. Since at

least 2012, climate change activists and plaintiffs’ attorneys have contemplated different

means of obtaining the confidential records of fossil fuel companies, including the use of

law enforcement power to obtain records that otherwise would be beyond their grasp.3

At a 2012 workshop entitled “Climate Accountability, Public Opinion, and Legal

Strategies,” the attendees discussed at considerable length “Strategies to Win Access to

Internal Documents” of companies like ExxonMobil.4 They concluded that “a single

sympathetic state attorney general might have substantial success in bringing key internal

documents to light.”5

                 Members of this group of activists and attorneys were on call at the March

press conference. During a private session with the attorneys general, a climate change

activist and a private environmental lawyer, who has previously sued ExxonMobil, made




1
    ExxonMobil was formed as a result of a merger between Exxon and Mobil on November 30, 1999.
    For ease of discussion, we refer to the predecessor entities as ExxonMobil throughout the Complaint.
2
    A transcript of the AGs United for Clean Power Press Conference, held on March 29, 2016, was
    prepared by counsel based on a video recording of the event, which is available at
    http://www.ag.ny.gov/press-release/ag-schneiderman-former-vice-president-al-gore-and-coalition-
    attorneys-general-across. A copy of this transcript is attached as Exhibit A and is incorporated by
    reference. See Ex. A at App. 1-21. All citations in the format “Ex. _” refer to exhibits to the
    Declaration of Justin Anderson, dated June 14, 2016, attached hereto.
3
    Ex. N at App. 125.
4
    Id. at App. 119-20, 125, 145-49.
5
    Id. at App. 125.

                                                    2
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presentations on the “imperative of taking action now on climate change” and on

“climate change litigation.”6

                  The attorneys general recognized that the involvement of these

individuals—especially a private attorney likely to seek fees from any private litigation

made possible by an attorney general-led investigation of ExxonMobil—could expose the

special interests behind their investigations. When that same attorney asked the New

York Attorney General’s office what he should tell a reporter if asked about his

involvement, the chief of that office’s environmental unit told him not to confirm his

attendance at the conference.7

                  Statements made by Attorney General Healey and others at the press

conference confirmed that the civil investigative demand (“CID”) that was thereafter

issued and served on ExxonMobil was the product of the activists’ misguided enterprise.

                  The Attorney General of New York announced that the attorneys general

had joined together to address “th[e] most pressing issue of our time,” namely, the need

to “preserve our planet and reduce the carbon emissions that threaten all of the people we

represent.”8     Although the federal government had not acted, he promised that the

assembled “group of state actors [intended] to send the message that [they were] prepared

to step into this [legislative] breach.”9 To that end, the New York Attorney General

reminded the press that his office “had served a subpoena on ExxonMobil,” to investigate

“theories relating to consumer and securities fraud.”10




6
     Ex. I at App. 76-85.
7
     Ex. P at App. 155.
8
     Ex. A at App. 2.
9
     Id. at App. 4.
10
     Id.

                                             3
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                  The Attorney General of the United States Virgin Islands, Claude Walker,

pledged to do something “transformational” to end “rel[iance] on fossil fuel,” beginning

with “an investigation into a company” that manufactures a “product” he believes is

“destroying this earth.”11     Attorney General Walker’s “transformational” use of his

office’s powers includes the issuance of a subpoena signed by a member of his staff but

mailed to ExxonMobil in Irving, Texas, by Cohen Milstein, a Washington, D.C., law firm

that touts itself as a “pioneer in plaintiff class action lawsuits” and “the most effective law

firm in the United States for lawsuits with a strong social and political component.”

                  Attorney General Healey similarly pledged “quick, aggressive action” by

her office to “address climate change and to work for a better future.”12 She then

announced that, in the service of those goals, her office also had commenced an

investigation of ExxonMobil and that she already knew what the outcome of the just-

launched investigation would be: It would reveal “a troubling disconnect between what

Exxon knew” and what it “chose to share with investors and with the American public.”13

Three weeks later, she served the CID on ExxonMobil.

                  The Massachusetts Attorney General’s CID purports to investigate

whether ExxonMobil committed consumer or securities fraud by misrepresenting its

knowledge of climate change in marketing materials and communications with investors.

                  Its allegations, however, are nothing more than a weak pretext for an

unlawful exercise of government power to further political objectives. The statute that

purportedly gives rise to the investigation has a limitations period of four years. Mass.

Gen. Law ch. 93A, § 2; Mass. Gen. Law ch. 260, § 5A. For more than a decade,

11
     Id. at App. 16-17.
12
     Ex. A at App. 14.
13
     Id.

                                              4
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however, ExxonMobil has widely and publicly confirmed that it “recognize[s] that the

risk of climate change and its potential impacts on society and ecosystems may prove to

be significant.”14

                  Despite the limitations period and ExxonMobil’s longstanding public

recognition of the risks of climate change, the CID nevertheless demands that

ExxonMobil produce effectively every document about climate change it has generated

or received in the last 40 years, thereby imposing a breathtaking burden on ExxonMobil,

which would need to collect and review millions of documents to comply with the CID.

                  Worse still, the CID targets ExxonMobil’s communications with the

Attorney General’s political opponents in the climate change debate—i.e., organizations

and individuals who hold views about climate change, and the proper policy responses to

it, with which, based on her statements at the press conference, Attorney General Healey

disagrees. The organizations identified by the CID each have been derided as so-called

“climate deniers,” meaning that they have expressed skepticism about the science of

climate change or Attorney General Healey’s preferred modes of addressing the problem.

                  The statements by the attorneys general at the press conference, their

meetings with climate activists and a plaintiffs’ attorney, and the remarkably broad scope

of the CID unmask the investigation launched by the Massachusetts Attorney General for

what it is: a pretextual use of law enforcement power to deter ExxonMobil from

participating in ongoing public deliberations about climate change and to fish through

decades of ExxonMobil’s documents in the hope of finding some ammunition to enhance

the Massachusetts Attorney General’s position in the policy debate concerning how to

14
     Ex. S at App. 183; see also Ex. T at App. 193 (“Because the risk to society and ecosystems from rising
     greenhouse gas emissions could prove to be significant, strategies that address the risk need to be
     developed and implemented.”).

                                                     5
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respond to climate change. Attorney General Healey is abusing the power of government

to silence a speaker she disfavors.

                 Through her actions, Attorney General Healey has deprived and will

continue to deprive ExxonMobil of its rights under the United States Constitution, the

Texas Constitution, and the common law. ExxonMobil therefore seeks a declaration that

the CID violates ExxonMobil’s rights under Article One of the United States

Constitution; the First, Fourth, and Fourteenth Amendments to the United States

Constitution; Sections Eight, Nine, and Nineteen of Article One of the Texas

Constitution; and constitutes an abuse of process under the common law. ExxonMobil

also seeks an injunction barring enforcement of the CID.          Absent an injunction,

ExxonMobil will suffer imminent and irreparable harm for which there is no adequate

remedy at law.

                                         PARTIES

                 ExxonMobil is a public, shareholder-owned energy company incorporated

in New Jersey with principal offices in the State of Texas. ExxonMobil is headquartered

and maintains all of its central operations in Texas.

                 Defendant Maura Healey is the Attorney General of Massachusetts. She is

sued in her official capacity.

                             JURISDICTION AND VENUE

                 This court has subject matter jurisdiction over this action pursuant to

Sections 1331 and 1367 of Title 28 of the United States Code. Plaintiff alleges violations

of its constitutional rights in violation of 28 U.S.C. § 1983. Because those claims arise

under the laws of the United States, this Court has original jurisdiction over them. 28

U.S.C. § 1331. Plaintiff also alleges related state law claims that derive from the same

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nucleus of operative facts. Each of Plaintiff’s state law claims—like its federal claims—

is premised on Attorney General Healey’s statements at the press conference, her service

of the CID, and the CID’s demands. This Court therefore has supplemental jurisdiction

over those claims. 28 U.S.C. § 1367(a).

                 Venue is proper within this District pursuant to 28 U.S.C. § 1391(b)

because all or a substantial part of the events giving rise to the claims occurred in the

Northern District of Texas. Specifically, the CID requires ExxonMobil to collect and

review a substantial number of records stored or maintained in the Northern District of

Texas.

                                          FACTS

A.       The “Green 20” Coalition of Attorneys General Announces a Plan to Use
         Law Enforcement Tools to Achieve Political Goals.

                 On March 29, 2016, the Attorney General of New York, Eric

Schneiderman, hosted a press conference in New York City dubbed “AGs United for

Clean Power.” The purpose of the conference was to discuss the coalition’s plans to take

“progressive action on climate change,” including investigating ExxonMobil.15 Former

Vice President Al Gore was the event’s featured speaker, and attorneys general or staff

members from over a dozen other states were in attendance. Attorney General Healey

attended and participated in the press conference.

                 The attorneys general, calling themselves the “Green 20” (a reference to

the number of participating attorneys general), explained that their mission was to

“com[e] up with creative ways to enforce laws being flouted by the fossil fuel




15
     Ex. MM at App. 327.

                                             7
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industry.”16     Expressing dissatisfaction with the perceived “gridlock in Washington”

regarding climate change legislation, Attorney General Schneiderman said that the

coalition had to work “creatively” and “aggressively” to advance that agenda.17

                  Attorney General Schneiderman announced that the assembled “group of

state actors [intended] to send the message that [it was] prepared to step into this

[legislative] breach.”18 He continued:

         We know that in Washington there are good people who want to do the
         right thing on climate change but everyone from President Obama on
         down is under a relentless assault from well-funded, highly aggressive and
         morally vacant forces that are trying to block every step by the federal
         government to take meaningful action. So today, we’re sending a message
         that, at least some of us—actually a lot of us—in state government are
         prepared to step into this battle with an unprecedented level of
         commitment and coordination.19

                  Attorney General Schneiderman’s comments left no doubt that the

purpose of the “coordination” was not to investigate alleged violations of law, but “to

deal with th[e] most pressing issue of our time,” namely, the need to “preserve our planet

and reduce the carbon emissions that threaten all of the people we represent.”20

                  Attorney General Schneiderman declared that the debate about climate

change and the range of permissible policy responses to it was over: “[W]e are here for a

very simple reason. We have heard the scientists. We know what’s happening to the

planet. There is no dispute but there is confusion, and confusion sowed by those with an

interest in profiting from the confusion and creating misperceptions in the eyes of the




16
     Ex. A at App. 3.
17
     Id. at App. 3-4.
18
     Id. at App. 4.
19
     Id. at App. 5.
20
     Id. at App. 2.

                                             8
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American public that really need to be cleared up.”21 Attorney General Schneiderman

reminded the press that his office “had served a subpoena on ExxonMobil,” to investigate

“theories relating to consumer and securities fraud.”22

                   Having explained the reason for the conference, Attorney General

Schneiderman then introduced former Vice President Al Gore.

                   Attorney General Schneiderman explained that “there is no one who has

done more for this cause” than Gore, who recently had been “traveling internationally,

raising the alarm,” and “training climate change activists.”23 Again, “the cause” to which

Attorney General Schneiderman referred was not preventing consumer or securities

fraud. Instead, the shared goal of the attorneys general and the former Vice President

was to end “our addiction to fossil fuels and our degradation of the planet.”24

                   In an effort to legitimize what the attorneys general were doing, Gore cited

perceived inaction by the federal government to justify action by the Green 20. He

observed that “our democracy’s been hacked . . . but if the Congress really would allow

the executive branch of the federal government to work, then maybe this would be taken

care of at the federal level.”25

                   Gore went on to condemn those who question the viability of renewable

energy sources, faulting them for “slow[ing] down this renewable revolution” by “trying

to convince people that renewable energy is not a viable option.” He then accused the

fossil fuel industry of “using [its] combined political and lobbying efforts to put taxes on




21
     Id. at App. 3.
22
     Id. at App. 4.
23
     Id. at App. 6.
24
     Id.
25
     Id. at App. 10.

                                                9
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solar panels and jigger with the laws” and said “[w]e do not have 40 years to continue

suffering the consequences of the fraud.”26

                 When it was his turn to speak, Virgin Islands Attorney General Claude

Walker began by hailing Vice President Gore as one of his “heroes.” Attorney General

Walker announced that his office had “launched an investigation into a company that we

believe must provide us with information about what they knew about climate change

and when they knew it.”27        That thinly veiled reference to ExxonMobil was later

confirmed in a press release naming ExxonMobil as the target of his investigation.28

                 Continuing the theme of the press conference, Attorney General Walker

admitted that his investigation of ExxonMobil was really aimed at changing public

policy, not investigating actual violations of existing law:

                 It could be David and Goliath, the Virgin Islands against a huge
                 corporation, but we will not stop until we get to the bottom of this
                 and make it clear to our residents as well as the American people
                 that we have to do something transformational. We cannot
                 continue to rely on fossil fuel. Vice President Gore has made that
                 clear.29

                 For Attorney General Walker, the public policy debate on climate change

is settled: “We have to look at renewable energy. That’s the only solution.”30

                 As for the energy companies like ExxonMobil, Attorney General Walker

accused them of producing a “product [that] is destroying this earth.”31 He complained




26
     Id. at App. 8-10.
27
     Id. at App. 16.
28
     Ex. C at App. 53-55.
29
     Ex. A at App. 17.
30
     Id.
31
     Id.

                                              10
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that, “as the polar caps melt,” those “companies [] are looking at that as an opportunity to

go and drill, to go and get more oil. Why? How selfish can you be?”32

                   During her turn at the podium, Attorney General Healey also began by

lauding Gore “who, today, I think, put most eloquently just how important this is, this

commitment that we make.”33

                   The Attorney General then articulated her view that “there’s nothing we

need to worry about more than climate change,” and that the attorneys general “have a

moral obligation to act” to alleviate the threat to “the very existence of our planet.”34

                   Attorney General Healey therefore pledged to take “quick, aggressive

action” to “address climate change and to work for a better future.” 35 In the service of

that goal, she announced that her office was investigating ExxonMobil. Remarkably, she

also announced, in advance, the findings of her investigation weeks before she even

issued the CID:

                   Fossil fuel companies that deceived investors and consumers about
                   the dangers of climate change should be, must be, held
                   accountable. That’s why I, too, have joined in investigating the
                   practices of ExxonMobil. We can all see today the troubling
                   disconnect between what Exxon knew, what industry folks knew,
                   and what the company and industry chose to share with investors
                   and with the American public.36

Attorney General Healey’s comments unambiguously reflected her pre-ordained

determination that ExxonMobil had engaged in unlawful deception in connection

with the debate over climate change policy.




32
     Id.
33
     Id. at App. 13.
34
     Id.
35
     Id. at App. 14.
36
     Id. at App. 13.

                                              11
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                  The political motivations articulated by Attorney General Healey and the

other press conference attendees struck a discordant note with those who rightfully expect

government attorneys to conduct themselves in a neutral and unbiased manner. One

reporter reacted by asking whether the press conference and the investigations were

nothing more than “publicity stunt[s].”37

B.       The Attorneys General of Other States Condemn the Green 20’s
         Investigations.

                  The press conference drew a swift and sharp rebuke from other state

attorneys general who criticized the Green 20 for using the power of law enforcement as

a tool to muzzle dissent and discussions about climate change. The attorneys general of

Alabama and Oklahoma stated that “scientific and political debate” “should not be

silenced with threats of criminal prosecution by those who believe that their position is

the only correct one and that all dissenting voices must therefore be intimidated and

coerced into silence.”38 They emphasized that “[i]t is inappropriate for State Attorneys

General to use the power of their office to attempt to silence core political speech on one

of the major policy debates of our time.”39

                  The Louisiana Attorney General similarly observed that “[i]t is one thing

to use the legal system to pursue public policy outcomes; but it is quite another to use

prosecutorial weapons to intimidate critics, silence free speech, or chill the robust

exchange of ideas.”40         Likewise, the Kansas Attorney General questioned the

“unprecedented” and “strictly partisan nature of announcing state ‘law enforcement’

operations in the presence of a former vice president of the United State[s] who,

37
     Id. at App. 18.
38
     Ex. D at App. 57.
39
     Id.
40
     Ex. E at App. 59.

                                              12
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presumably [as a private citizen], has no role in the enforcement of the 17 states’

securities or consumer protection laws.”41 The West Virginia Attorney General criticized

the attorneys general for “abusing the powers of their office” and stated that the desire to

“eliminate fossil fuels . . . should not be driving any legal activity” and that it was

improper to “use the power of the office of attorney general to silence [] critics.”42

                  More recently, the Committee on Science, Space, and Technology of the

United States House of Representatives launched an inquiry into the investigations

undertaken by the Green 20.43 That committee was “concerned that these efforts [of the

Green 20] to silence speech are based on political theater rather than legal or scientific

arguments, and that they run counter to an attorney general’s duty to serve as the

guardian of the legal rights of the citizens and to assert, protect, and defend the rights of

the people.”44 Perceiving a need to provide “oversight” of what it described as “a

coordinated attempt to attack the First Amendment rights of American citizens,” the

Committee requested the production of certain records and information from the

attorneys general.45 The activists and the attorneys general have thus far refused to

cooperate with the inquiry.46

                  Several senators similarly have urged United States Attorney General

Loretta Lynch to confirm that the Department of Justice is not and will not investigate

United States citizens or corporations on the basis of their views on climate change.47

The senators observed that the Green 20’s investigations “provide disturbing


41
     Ex. F at App. 61.
42
     Ex. G at App. 64-66.
43
     Ex. H at App. 69-74.
44
     Id. at App. 69 (internal quotation marks omitted).
45
     Id. at App. 72.
46
     See, e.g., Ex. Z at App. 235-36; Ex. AA at App. 238-40.
47
     See Ex. BB at App. 243-245.

                                                    13
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confirmation that government officials at all levels are threatening to wield the sword of

law enforcement to silence debate on climate change.”48 The letter concluded by asking

Attorney General Lynch to explain the steps she is taking “to prevent state law

enforcement officers from unconstitutionally harassing private entities or individuals

simply for disagreeing with the prevailing climate change orthodoxy.”49

C.       In Closed-Door Meetings, the Green 20 Privately Meet with Climate Activists
         and Plaintiffs’ Lawyers.

                  The impropriety of the statements made by Attorney General Healey and

the other members of the Green 20 at the press conference are surpassed only by what

they said behind closed doors.

                  In advance of the conference, the chief of the Massachusetts Attorney

General’s Office’s Energy & Environment Bureau indicated that the office sought to

“learn    the    status      of   states’   investigations/plans”   and   explore   avenues   for

“coordination.” The bureau chief also noted that the office was taking actions to

“advanc[e] clean energy.”50

                  During the morning of the press conference, the attorneys general attended

two presentations. Those presentations were not announced publicly, and they were not

open to the press or general public. The identity of the presenters and the titles of the

presentations, however, were later released by the State of Vermont in response to a

request under that state’s Freedom of Information Act.




48
     Id. at App. 244.
49
     Id.
50
     Ex. J at App. 158-59.

                                                   14
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                 The first presenter was Peter Frumhoff, the director of science and policy

for the Union of Concerned Scientists.51 His subject was the “imperative of taking action

now on climate change.”52

                 According to the Union of Concerned Scientists, those who do not share

its views about climate change and responsive policy make it “difficult to achieve

meaningful solutions to global warming.”53 It accuses “[m]edia pundits, partisan think

tanks, and special interest groups” of being “contrarians,” who “downplay and distort the

evidence of climate change, demand policies that allow industries to continue polluting,

and attempt to undercut existing pollution standards.”54

                 Frumhoff has been targeting ExxonMobil since at least 2007. In that year,

Frumhoff contributed to a publication issued by the Union of Concerned Scientists, titled

“Smoke, Mirrors, and Hot Air: How ExxonMobil Uses Big Tobacco’s Tactics to

Manufacture Uncertainty on Climate Science,”55 which brainstormed strategies for

“putting the brakes” on ExxonMobil’s alleged “disinformation campaign.”56

                 Matthew Pawa of Pawa Law Group, P.C.57 hosted the second presentation

on the topic of “climate change litigation.”58 The Pawa Law Group, which boasts of its

“role in launching global warming litigation,”59 previously sued ExxonMobil and sought

to hold it liable for causing global warming. That suit was dismissed because, as the

court properly held, regulating global warming emissions is “a political rather than a legal


51
     Ex. J at App. 87.
52
     Ex. I at App. 77.
53
     Ex. K at App. 95-95.
54
     Id.
55
     Ex. LL at 319.
56
     Id. at 322.
57
     Ex. L at App. 109-110.
58
     Ex. I at App. 77.
59
     Ex. M at App. 112.

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issue that needs to be resolved by Congress and the executive branch rather than the

courts.”60

                  Frumhoff and Pawa have sought for years to initiate and promote legal

actions against fossil fuel companies in the service of their political agenda and for

private profit.      In 2012, for example, Frumhoff hosted and Pawa presented at a

conference entitled “Climate Accountability, Public Opinion, and Legal Strategies.”61

The conference’s goal was to consider “the viability of diverse strategies, including the

legal merits of targeting carbon producers (as opposed to carbon emitters) for U.S.-

focused climate mitigation.”62

                  The 2012 conference’s attendees discussed at considerable length

“Strategies to Win Access to Internal Documents” of companies like ExxonMobil.63

Even then, “lawyers at the workshop” suggested that “a single sympathetic state attorney

general might have substantial success in bringing key internal documents to light.”64

                  Indeed, that conference’s attendees were “nearly unanimous” regarding

“the importance of legal actions, both in wresting potentially useful internal documents

from the fossil fuel industry and, more broadly, in maintaining pressure on the industry

that could eventually lead to its support for legislative and regulatory responses to global

warming.”65

                  As recently as January 2016, Pawa and a group of climate activists met to

discuss the “[g]oals of an Exxon campaign.” The goals included:


60
     Ex. N at App. 126; see also Native Village of Kivalina v. ExxonMobil Corp., 696 F.3d 849, 857-58
     (9th Cir. 2012).
61
     Ex. N at App. 117-18, 146.
62
     Id. at App. 118.
63
     Id. at App. 125.
64
     Id.
65
     Id. at App. 141.

                                                   16
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         To establish in public’s mind that Exxon is a corrupt institution that has
         pushed humanity (and all creation) toward climate chaos and grave harm.
         To delegitimize them as a political actor. To force officials to disassociate
         themselves from Exxon, their money, and their historic opposition to
         climate progress, for example by refusing campaign donations, refusing to
         take meetings, calling for a price on carbon, etc. To call into question
         climate advantages of fracking, compared to coal. To drive divestment
         from Exxon. To drive Exxon & climate into center of 2016 election
         cycle.66

                 The Green 20 press conference thus represented the culmination of

Frumhoff and Pawa’s collective efforts to enlist state law enforcement officers in their

quest to enact their preferred policy responses to global warming and obtain documents

for private lawsuits.

                 The attorneys general in attendance at the press conference understood

that the participation of Frumhoff and Pawa, if reported, could expose the private,

financial, and political interests behind the announced investigations. In an apparent

attempt to improperly shield their communications from public scrutiny, the attorneys

general drafted—and may have executed—a common interest agreement in connection

with the Green 20 conference.67 In addition, the day after the conference, a reporter from

The Wall Street Journal called Pawa.68 In response, Pawa asked the New York Attorney

General’s Office, “[w]hat should I say if she asks if I attended?”69 The environmental

bureau chief at the office, in an effort to conceal from the press and public the closed-

door meetings, responded, “[m]y ask is if you speak to the reporter, to not confirm that

you attended or otherwise discuss the event.”70




66
     See Ex. OO at App. 336; see also Ex. O at App. 151-53.
67
     Ex. NN at App. 333-34.
68
     See Ex. P at App. 155.
69
     Id.
70
     Id.

                                                   17
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                 The press conference, the closed-door meetings with activists, and the

activists’ long-standing desire to expose ExxonMobil’s “internal documents” as part of a

campaign to put “pressure on the industry,” inducing it to support “legislative and

regulatory responses to global warming,”71 form the partisan backdrop against which the

CID must be considered. The thoroughly political goals of the activists—which the

Massachusetts Attorney General adopted as her own at the press conference—are

reflected in the CID itself.

D.       The CID Demands 40 Years’ of ExxonMobil’s Records, Even Though
         ExxonMobil Could Not Have Violated the Statute Purportedly Under
         Investigation.

                 Three weeks after the press conference, on April 19, 2016, the

Massachusetts Attorney General’s Office served the CID on ExxonMobil’s registered

agent in Suffolk County, Massachusetts.

                 According to the CID, there is “a pending investigation concerning

[ExxonMobil’s] potential violations of Mass. Gen. Law ch. 93A, § 2.”72 That statute

prohibits “unfair or deceptive acts or practices” in “trade or commerce”73 and has a four-

year statute of limitations.74        The CID specifies two types of transactions under

investigation: ExxonMobil’s (i) “marketing and/or sale of energy and other fossil fuel

derived products to consumers in the Commonwealth,” and (ii) “marketing and/or sale of

securities” to Massachusetts investors.75 The requested documents pertain largely to

information related to climate change in the possession of ExxonMobil and located at its

principal place of business in Texas.

71
     Ex. N at App. 141.
72
     Ex. B at App. 23.
73
     Mass. Gen. Law ch. 93A, §2(a).
74
     Mass. Gen. Law ch. 260, § 5A.
75
     Ex. B at App. 23.

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                  ExxonMobil could not have committed the possible offenses that the CID

purports to investigate for at least two reasons.

                  First, at no point during the past five years—more than one year before the

limitations period began—has ExxonMobil (i) sold fossil fuel derived products to

consumers in Massachusetts, or (ii) owned or operated a single retail store or gas station

in the Commonwealth.76

                  Second, ExxonMobil has not sold any form of equity to the general public

in Massachusetts since at least 2010, which is also well beyond the limitations period.77

In the past decade, ExxonMobil has sold debt only to underwriters outside the

Commonwealth, and ExxonMobil did not market those offerings to Massachusetts

investors.78

                  The CID’s focus on events, activities, and records outside of

Massachusetts is demonstrated by the items it demands ExxonMobil search for and

produce. For example, the CID demands documents that relate to or support 11 specific

statements.79 None of those statements were made in Massachusetts.80 The CID also

seeks ExxonMobil’s communications with 12 named organizations,81 but only one of

these organizations has an office in Massachusetts and ExxonMobil’s communications

with the other 11 organizations likely occurred outside of Massachusetts. Finally, the


76
     Any service station that sells fossil fuel derived products under an “Exxon” or “Mobil” banner is
     owned and operated independently. In addition, distribution facilities in Massachusetts, including
     Everett Terminal, have not sold products to consumers during the limitations period.
77
     Ex. GG at App. 292.
78
     Id. This is subject to one exception. During the limitations period, ExxonMobil has sold short-term,
     fixed-rate notes, which mature in 270 days or less, to institutional investors in Massachusetts, in
     specially exempted commercial paper transactions. See Mass. Gen. Laws ch. 110A, § 402(a)(10); see
     also 15 U. S. C. § 77c(a)(3).
79
     Ex. B at App. 36-37 (Request Nos. 8-11).
80
     Id.
81
     Id. at App. 35 (Request No. 5).

                                                    19
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CID requests all documents and communications related to ExxonMobil’s publicly issued

reports, press releases, and Securities and Exchange Commission (“SEC”) filings, which

were issued outside of Massachusetts,82 and all documents and communications related to

ExxonMobil’s climate change research, which also occurred outside of Massachusetts.83

                  Even if ExxonMobil had engaged in some theoretically relevant conduct

in Massachusetts, ExxonMobil has made no statements in the past four years that could

give rise to fraud as alleged in the CID. For more than a decade, ExxonMobil has

publicly acknowledged that climate change presents significant risks that could affect its

business. For example, ExxonMobil’s 2006 Corporate Citizenship Report recognized

that “the risk to society and ecosystems from rising greenhouse gas emissions could

prove to be significant” and reasoned that “strategies that address the risk need to be

developed and implemented.”84 In addition, in 2002, ExxonMobil, along with three other

companies, helped launch the Global Climate and Energy Project at Stanford University,

which has a mission of “conduct[ing] fundamental research on technologies that will

permit the development of global energy systems with significantly lower greenhouse gas

emissions.”85

                  ExxonMobil has also discussed these risks in its public SEC filings. For

example, in its 2006 10-K, ExxonMobil stated that “laws and regulations related to. . .

risks of global climate change” “have been, and may in the future” continue to impact its

operations.86 Similarly, in its 2015 10-K, ExxonMobil noted that the “risk of climate



82
     Id. at App. 38-40 (Request Nos. 15-16, 19, 22).
83
     Id. at App. 34-35, 37-40 (Request Nos. 1-4, 14, 17, 22).
84
     Exxon Mobil Corp., 2006 Corporate Citizenship Report 15 (2007).
85
     Stanford University Global Climate & Energy Project, About Us, available at https://gcep.stanford.edu
     /about/index.html (last visited Apr. 12, 2016).
86
     Exxon Mobil Corp., Annual Report (Form 10-K) 2-3 (Feb. 28, 2007).

                                                    20
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change” and “current and pending greenhouse gas regulations” may increase its

“compliance costs.”87 Long before the limitations period of Mass. Gen. Law ch. 93A, §

2, ExxonMobil disclosed and acknowledged the risks that supposedly gave rise to the

Massachusetts Attorney General’s investigation.

                  Resting uneasily with the absence of any factual basis for investigating

ExxonMobil’s alleged fraud is the heavy burden imposed by the CID. Spanning 25 pages

and containing 38 broadly worded document requests, the CID unreasonably demands

production of essentially any and all communications and documents relating to climate

change that ExxonMobil has produced or received over the last 40 years. For example,

the CID requests all documents and communications “concerning Exxon’s development,

planning, implementation, review, and analysis of research efforts to study CO2

emissions . . . and the effects of these emissions on the Climate” since 1976 and all

documents and communications concerning “any research, study, and/or evaluation by

ExxonMobil and/or any other fossil fuel company regarding the Climate Change

Radiative Forcing Effect of” methane since 2010.88 It also requests all documents and

communications concerning papers and presentations given by ExxonMobil scientists

since 197689 and demands production of ExxonMobil’s climate change related speeches,

public reports, press releases, and SEC filings over the last 20 years.90 Moreover, it fails

to reasonably describe several categories of documents by, for example, requesting



87
     Exxon Mobil Corp., Annual Report (Form 10-K) 3 (Feb. 24, 2016).
88
     Ex. B at App. 34, 39 (Request Nos. 1, 17).
89
     Id. at App. 36 (Request Nos. 2-4).
90
     Id. at App. 36 (Request No. 8 (all documents since 1997)); id. at App. 39-40 (Request No. 22 (all
     documents since 2006)); id. at App. 36-39 (Request Nos. 9-12, 14-16, 19 (all documents since 2010)).
     The CID also demands the testimony of ExxonMobil officers, directors, or managing agents who can
     testify about a variety of subjects, including “[a]ll the topics covered” in the CID. Id. at App. 43
     (Schedule B).

                                                   21
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documents related to ExxonMobil’s “awareness,” “internal considerations,” and

“decision making” with respect to certain climate change matters.91

E.        The CID Targets Organizations that Have Been Derided by the Press as
          “Climate Deniers.”

                   The CID’s narrower requests, however, are in some instances more

troubling than its overly broad ones. They appear to target groups simply because they

hold views with which Attorney General Healey disagrees. All 12 of the organizations

that ExxonMobil is directed to produce its communications with have been identified by

environmental advocacy groups as opposing policies in favor of addressing climate

change or disputing the science in support of climate change.92

F.        ExxonMobil’s Efforts to Protect its Rights.

                   On April 13, 2016, ExxonMobil brought a declaratory judgment action in

a Tarrant County district court against Attorney General Walker and the private attorneys

to whom he had delegated his investigative power. ExxonMobil sought a declaration that

Attorney General Walker’s subpoena was illegal and unenforceable, because it violated

several of ExxonMobil’s rights under the United States and Texas constitutions, and was

an abuse of process under common law.93

                   On May 16, 2016, the Attorneys General of Texas and Alabama

intervened in that action in an effort to protect the constitutional rights of their citizens.94

The plea filed by the Texas and Alabama Attorneys General criticized Attorney General

Walker and his private attorneys for undertaking an investigation “driven by ideology,



91
      See id. at App. 35-36, 39 (Request Nos. 7-8, 18).
92
     See, e.g., Ex. JJ at App. 306-308.
93
      Pl’s Original Pet. for Declaratory Relief at 22–26, Exxon Mobil Corp. v. Walker, No. 4:16-cv-00364-
      K, ECF No. 1-5 (April 13, 2016).
94
      Ex. W at App. 214-220.

                                                    22
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and not law.”95 The Texas Attorney General called Attorney General Walker’s purported

investigation “a fishing expedition of the worst kind” and recognized it as “an effort to

punish Exxon for daring to hold an opinion on climate change that differs from that of

radical environmentalists.”96 The Alabama Attorney General echoed those sentiments,

stating that the pending action in Texas “is more than just a free speech case. It is a battle

over whether a government official has a right to launch a criminal investigation against

anyone who doesn’t share his radical views.”97

                  Two days later, Attorney General Walker and the other defendants

removed that case to this Court.98           In response, ExxonMobil moved to remand the

proceedings to state court because, under the reasoning of a recent decision by the Fifth

Circuit, ExxonMobil’s suit against Attorney General Walker is not ripe in federal court

because ExxonMobil faces no sanctions for refusing to comply with Attorney General

Walker’s subpoena until he moves to enforce it.99

                  Unlike Attorney General Walker’s subpoena, ExxonMobil faces

immediate sanctions if it fails or refuses to comply with Attorney General Healey’s CID.

Noncompliance with the CID results in the assessment of a “civil penalty.”100 And if

ExxonMobil does not respond to the CID, it risks waiving any objections to it. This suit

is therefore ripe for adjudication in federal court.




95
      Id. at App. 215.
96
      Ex. X at App. 222.
97
      Ex. Y at App. 226.
98
      See Notice of Removal, Exxon Mobil Corp. v. Walker, No. 4:16-cv-00364-K, ECF No. 1 (May 18,
      2016).
99
      See Memorandum of Law in Supp. of Mot. to Remand, Exxon Mobil Corp. v. Walker, No. 4:16-cv-
      00364-K, ECF No. 12 (May 23, 2016).
100
       Mass. Gen. Law ch. 93A § 7.

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                  June 16, 2016 is the deadline under Massachusetts law (as extended on

consent) for objecting to the CID. Under Massachusetts law, ExxonMobil must respond

to the CID in a Massachusetts court, because otherwise it risks waiving its objections.

                  Accordingly, ExxonMobil expects to appear specially in Massachusetts to

file a protective motion. ExxonMobil plans to file that motion for the sole purpose of

preserving its rights, and to avoid an argument that it has waived its objections.101

Because Massachusetts lacks personal jurisdiction over ExxonMobil, ExxonMobil will

appear specially and assert its objections subject to its argument regarding personal

jurisdiction. ExxonMobil will also ask the Massachusetts court to stay its consideration

of ExxonMobil’s objections because ExxonMobil believes that this Court should resolve

the enforceability of the CID in the first instance.

        THE MASSACHUSETTS ATTORNEY GENERAL’S CID VIOLATES
                      EXXONMOBIL’S RIGHTS

                  The facts recited above demonstrate the pretextual nature of the stated

reasons for Attorney General Healey’s investigation.                 The statements made by the

Massachusetts Attorney General at the press conference reveal the political purpose of

the investigation: to change the political calculus surrounding the debate about policy

responses to climate change by (1) targeting the speech of the Massachusetts Attorney

General’s political opponents, and (2) exposing ExxonMobil documents that may be

politically useful to climate activists.

                  The pretextual character of the CID is brought into sharp relief when the

scope of the CID—which demands 40 years of records—is contrasted with the four-year

limitations period of the statute that purportedly authorizes the investigation.


101
      See Attorney General v. Bodimetric Profiles, 533 N.E.2d 1364, 1365 (Mass. 1989).

                                                   24
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                  The CID’s demands for millions of documents that span four decades are

not justified by any legitimate law enforcement objective.            The CID purports to

investigate ExxonMobil’s deception of Massachusetts consumers and investors in trade

or commerce. But ExxonMobil could not have deceived Massachusetts consumers or

investors during the statutory period. Accordingly, the CID’s demands for millions of

documents, which concern only out-of-state activities, are not relevant to any action that

Attorney General Healey is authorized to bring.

                  Neither Attorney General Healey nor any other public official may use the

power of the state to prescribe what shall be orthodox in matters of public concern. By

deploying the law enforcement authority of the Massachusetts Attorney General’s Office

to target one side of a political debate, her actions violated the First Amendment.

                  It follows from the political character of the CID and its remarkably broad

scope that the CID also violates the Fourth Amendment. Its burdensome demands for

irrelevant records violate the Fourth Amendment’s reasonableness requirement, as well

as its prohibition on fishing expeditions.

                  The Massachusetts Attorney General’s investigation likewise fails to meet

the requirements of due process. She has publicly declared not only that she believes

ExxonMobil and other fossil fuel companies pose an existential risk to the planet, but

also that she knows how the investigation will end: with a finding that ExxonMobil

violated the law.102       Moreover, Attorney General Healey publicly announced the

improper purpose of her investigation: to silence ExxonMobil’s voice in the public debate

regarding climate change. The improper political bias that inspired the Massachusetts



102
      Supra ¶¶ 32-34.

                                              25
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investigation disqualifies Attorney General Healey from serving as the disinterested

prosecutor required by the Constitution.

                  In the rush to fill what another attorney general described as a

“[legislative] breach” regarding climate change, Attorney General Healey also has

impermissibly trod on exclusively federal turf.        Her Office’s investigation regulates

speech that occurs almost entirely outside of Massachusetts. Where a state seeks to

regulate out-of-state speech, as the Massachusetts Attorney General’s Office did here by

issuing the CID, the state improperly encroaches on Congress’s exclusive authority to

regulate interstate commerce and violates the Dormant Commerce Clause.

                  Finally, the CID constitutes an abuse of process, because it was issued for

the improper purposes described above.

                    EXXONMOBIL HAS BEEN INJURED BY THE CID

                  The Massachusetts CID has injured, is injuring, and will continue to injure

ExxonMobil.

                  ExxonMobil is an active participant in the policy debate about potential

responses to climate change. It has engaged in that debate for decades, participating in

the Intergovernmental Panel on Climate Change since its inception and contributing to

every report issued by the organization since 1995.          Since 2009, ExxonMobil has

publicly advocated for a carbon tax as its preferred method to regulate carbon

emissions. Proponents of a carbon tax on greenhouse gas emissions argue that increasing

taxes on carbon can “level the playing field among different sources of energy.”103 While

the Massachusetts Attorney General and the other members of the Green 20 are entitled

to disagree with ExxonMobil’s position, no member of that coalition is entitled to silence

103
      Ex. FF at App. 259.

                                              26
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or seek to intimidate one side of that discussion (or the debate about any other important

public issue) through the issuance of overbroad and burdensome subpoenas. ExxonMobil

intends—and has a Constitutional right—to continue to advance its perspective in the

national discussions over how to respond to climate change. Its right to do so should not

be violated through this exercise of government power.

               As a result of the improper and politically motivated investigation

launched by the Massachusetts Attorney General, ExxonMobil has suffered, now suffers,

and will continue to suffer violations of its rights under the First, Fourth, and Fourteenth

Amendments to the United States Constitution and under Sections Eight, Nine, and

Nineteen of Article One of the Texas Constitution. Attorney General Healey’s actions

also violate Article One of the United States Constitution and constitute an abuse of

process under common law.

               Acting under the laws, customs, and usages of Massachusetts, Attorney

General Healey has subjected ExxonMobil, and is causing ExxonMobil to be subjected,

to the deprivation of rights, privileges, and immunities secured by the United States

Constitution and the Texas Constitution. ExxonMobil’s rights are made enforceable

against Attorney General Healey, who is acting under the color of law, by Article One,

Section Eight of the United States Constitution, and the Due Process Clause of Section 1

of the Fourteenth Amendment to the United States Constitution, all within the meaning

and contemplation of 42 U.S.C. § 1983, and by Sections Eight, Nine, and Nineteen of

Article One of the Texas Constitution.

               Absent relief, Attorney General Healey will continue to deprive

ExxonMobil of these rights, privileges, and immunities.



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                In addition, ExxonMobil is imminently threatened with further injury that

will occur if it is forced to choose between conforming its constitutionally protected

speech to Attorney General Healey’s political views or exercising its rights and risking

sanctions and prosecution.

                The CID also imminently threatens ongoing injury to ExxonMobil

because it subjects ExxonMobil to an unreasonable search in violation of the Fourth

Amendment. Complying with this unreasonably burdensome and unwarranted fishing

expedition would require ExxonMobil to collect, review, and produce millions of

documents, and would cost millions of dollars.

                If ExxonMobil’s request for injunctive relief is not granted, and Attorney

General Healey is permitted to enforce the CID, then ExxonMobil will suffer these

imminent and irreparable harms. ExxonMobil has no adequate remedy at law for the

violation of its constitutional rights.

                                   CAUSES OF ACTION

A.      First Cause of Action: Violation of ExxonMobil’s First and Fourteenth
        Amendment Rights

                ExxonMobil repeats and realleges paragraphs 1 through 85 above as if

fully set forth herein.

                The CID’s focus on one side of a policy debate in an apparent effort to

silence, intimidate, and deter those possessing a particular viewpoint from participating in

that debate contravenes, and any effort to enforce the subpoena would further contravene,

the rights provided to ExxonMobil by the First Amendment to the United States

Constitution, made applicable to the Commonwealth of Massachusetts by the Fourteenth

Amendment, and by Section Eight of Article One of the Texas Constitution.


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                The CID is an impermissible viewpoint-based restriction on speech, and it

burdens ExxonMobil’s political speech. Attorney General Healey issued the CID based

on her disagreement with ExxonMobil regarding how the United States should respond to

climate change. And even if the CID had not been issued for that illegal purpose, it

would still violate the First Amendment, because it burdens ExxonMobil’s political

speech, and its demands are not substantially related to any compelling governmental

interest.

B.      Second Cause of Action: Violation of ExxonMobil’s Fourth and Fourteenth
        Amendment Rights

                ExxonMobil repeats and realleges paragraphs 1 through 85 above as if

fully set forth herein.

                The issuance of the CID contravenes, and any effort to enforce the

subpoena would further contravene, the rights provided to ExxonMobil by the Fourth

Amendment to the United States Constitution, made applicable to the Commonwealth of

Massachusetts by the Fourteenth Amendment, and by Section Nine of Article One of the

Texas Constitution to be secure in its papers and effects against unreasonable searches

and seizures.

                The CID is an unreasonable search and seizure because it constitutes an

abusive fishing expedition into ExxonMobil’s climate change research over the past 40

years, without any basis for believing that ExxonMobil violated Massachusetts law. Its

overbroad and irrelevant requests impose an undue burden on ExxonMobil and violate

the Fourth Amendment’s reasonableness requirement, which mandates that a subpoena

be limited in scope, relevant in purpose, and specific in directive.




                                             29
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C.        Third Cause of Action: Violation of ExxonMobil’s Fourteenth Amendment
          Rights

                ExxonMobil repeats and realleges paragraphs 1 through 85 above as if

fully set forth herein.

                Attorney General Healey’s investigation of ExxonMobil contravenes the

rights provided to ExxonMobil by the Fourteenth Amendment to the United States

Constitution and by Section Nineteen of Article One of the Texas Constitution not to be

deprived of life, liberty, or property without due process of law.

                The CID deprives ExxonMobil of due process of law by violating the

requirement that a prosecutor be disinterested. Attorney General Healey’s statements at

the Green 20 press conference make clear that she is biased against ExxonMobil.

D.        Fourth Cause of Action: Violation of ExxonMobil’s Rights Under the
          Dormant Commerce Clause

                ExxonMobil repeats and realleges paragraphs 1 through 85 above as if

fully set forth herein.

                Article I, Section 8 of the United States Constitution grants Congress

exclusive authority to regulate interstate commerce and thus prohibits the States from

doing so. The issuance of the CID contravenes, and any effort to enforce the CID would

further contravene, the rights provided to ExxonMobil under the Dormant Commerce

Clause.

                The CID effectively regulates ExxonMobil’s out-of-state speech while

only purporting to investigate ExxonMobil’s marketing and/or sale of energy and other

fossil fuel derived products to consumers in the Commonwealth and its marketing and/or

sale of securities to investors in the Commonwealth.



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                The CID demands documents that relate to (1) statements ExxonMobil

made outside the Commonwealth, and (2) ExxonMobil’s communications with

organizations residing outside the Commonwealth. It therefore has the practical effect of

primarily burdening interstate commerce.

E.      Fifth Cause of Action: Abuse of Process Claim

                ExxonMobil repeats and realleges paragraphs 1 through 86 above as if

fully set forth herein.

                Attorney General Healey committed an abuse of process under common

law by (1) issuing the CID in the absence of a belief that the documents sought are

relevant to ExxonMobil’s trade or commerce in the Commonwealth, as required by the

authorizing statute; (2) having an ulterior motive for issuing and serving the CID,

namely, an intent to prevent ExxonMobil from exercising its right to express views with

which she disagrees; and (3) causing injury to ExxonMobil’s reputation and violating it

constitutional rights.

                                PRAYER FOR RELIEF

        WHEREFORE, Plaintiff prays that Attorney General Healey be summoned to

appear and answer and that this Court award the following relief:

        1.      A declaratory judgment pursuant to 28 U.S.C. § 2201, declaring that the

issuance of the CID violates ExxonMobil’s rights under the First, Fourth, and Fourteenth

Amendments to the United States Constitution; violates ExxonMobil’s rights under

Sections Eight, Nine, and Nineteen of Article One of the Texas Constitution; and violates

the Dormant Commerce Clause of the United States Constitution;

        2.      A declaratory judgment pursuant to 28 U.S.C. § 2201, declaring that the

issuance of the CID constitutes an abuse of process, in violation of common law;

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       3.     A permanent injunction prohibiting enforcement of the CID;

       4.     Such other injunctive relief to which Plaintiff is entitled; and

       5.     All costs of court together with any and all such other and further relief as

this Court may deem proper.




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Dated: June 15, 2016


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